         Case 8:21-bk-11710-SC Doc 224 Filed 09/09/22 Entered 09/09/22 21:17:38                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 21-11710-SC
Jamie Lynn Gallian                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 07, 2022                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 09, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Sep 08 2022 00:11:00      Jamie Lynn Gallian, 16222 Monterey Ln Unit 376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 09, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 7, 2022 at the address(es) listed
below:
Name                               Email Address
Aaron E DE Leest
                                   on behalf of Trustee Jeffrey I Golden (TR) adeleest@DanningGill.com danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Brandon J Iskander
                                   on behalf of Creditor The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

D Edward Hays
                                   on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com
         Case 8:21-bk-11710-SC Doc 224 Filed 09/09/22 Entered 09/09/22 21:17:38                                                       Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0973-8                                         User: admin                                                            Page 2 of 2
Date Rcvd: Sep 07, 2022                                      Form ID: pdf042                                                       Total Noticed: 1
D Edward Hays
                             on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Eric P Israel
                             on behalf of Trustee Jeffrey I Golden (TR) eisrael@DanningGill.com danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Jeffrey I Golden (TR)
                             lwerner@go2.law jig@trustesolutions.net;kadele@go2.law

Laila Masud
                             on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor
                             on behalf of Interested Party Courtesy NEF mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Mark A Mellor
                             on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Creditor The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Valerie Smith
                             on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 17
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    D. EDWARD HAYS, #162507
  1 ehays@marshackhays.com
    LAILA MASUD, #311731
  2 lmasud@marshackhays.com                                 FILED & ENTERED
    BRADFORD N. BARNHARDT, #328705
  3 bbarnhardt@marshackhays.com
    MARSHACK HAYS LLP                                               SEP 07 2022
  4 870 Roosevelt
    Irvine, CA 92620                                         CLERK U.S. BANKRUPTCY COURT
  5 Telephone: (949) 333-7777                                Central District of California
                                                             BY jle        DEPUTY CLERK
    Facsimile: (949) 333-7778
  6
    Attorneys for Movant and Creditor,
  7 HOUSER BROS. CO. dba RANCHO DEL
    REY MOBILE HOME ESTATES
  8
                              UNITED STATES BANKRUPTCY COURT
  9
                  CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 10
    In re                                     Case No. 8:21-bk-11710-ES
 11
    JAMIE LYNN GALLIAN,                       Chapter 7
 12
                     Debtor.                  ORDER CONTINUING HEARING ON
 13                                           '(%725¶6127,&(2)$1'027,21)25
                                              RECONSIDERATION OF 7.21.22 ORDER
 14                                           SUSTAINING HOUSER BROS. CO. DBA
                                              RANCHO DEL REY MOBILE HOME
 15                                           ESTATES¶6 2%-(&7,2172'(%725¶6
                                              CLAIMED HOMESTEAD EXEMPTION
 16
                                              [MOTION: DK. NO. 157]
 17
                                              HEARING DATE
 18                                           Date: August 18, 2022
                                              Time: 10:30 a.m.
 19                                           Ctrm: 5A
                                              Location: 411 W. Fourth Street, Santa Ana, CA
 20                                           92701
 21                                                   CONTINUED HEARING DATE
                                                      Date: September 22, 2022
 22                                                   Time: 10:00 a.m.
                                                      Ctrm: 5A
 23                                                   Location: 411 W. Fourth Street, Santa Ana, CA
                                                      92701
 24

 25         On August 18, 2022, at 10:30 a.m., the Court held a hearing on the Motion for
 26 Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile
 27 Home Estates Objection to Debtor's Claimed Homestead Exemption ³0RWLRQ´ , filed by Jamie

 28 /\QQ*DOOLDQ ³'HEWRU´ RQ-XO\22, as Dk. No. 157. Appearances were as noted on the


                                                     1
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  1 record. During the hearing, all parties were given an opportunity to be heard. The Court, having
  2 read and considered the Motion; the Response by Houser Bros. Co. dba Rancho Del Rey Mobile
  3 Home Estates ³+RXVHU%URV´ , Dk. No. 170; the Joinders of Chapter 7 Trustee Jeffrey I.
  4 Golden and The Huntington Beach Gables Homeowners Association in HoXVHU%URV¶V
  5 Response, Dk. Nos. 171, 173; DQG'HEWRU¶V5HSO\, Dk. No. 185; and all other pleadings and
  6 papers filed in this case, WKH&RXUW¶VWHQWDWLYHUXOLQJand having heard the arguments made on
  7 the record during the hearing, the Court enters its order as follows:
  8            IT IS ORDERED that:
  9            1.       The hearing on the Motion is continued to September 22, 2022, at 10:00 a.m.,
 10 before this Court;

 11            2.       No further briefing on the Motion is allowed or will be considered, and all
 12 pleadings are closed;

 13            3.       The Court will proceed on the merits RI'HEWRU¶V0RWLRQ if 'HEWRU¶VDSSHDOV
 14 [Dk. Nos. 143, 161, 169, and 189] are dismissed, and no further appeals are pending regarding

 15 WKH&RXUW¶VUXOLQJRQ+RXVHU%URV¶V0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG+RPHVWHDG

 16 Exemption, Dk. No. 95.

 17                                                    ###
 18

 19

 20

 21

 22

 23     Date: September 7, 2022

 24

 25

 26
 27   4862-6578-5903, v. 1

 28


                                                           2
